                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF
                            MISSOURIWESTERN DIVISION
  KATHY ZENTS,                              )
                                            )
          Plaintiff                         ) Case No. 4:22-cv-00007-SRB
  v.                                        )
                                            )
  LUCKY OPCO, LLC, and                      )
  SPARC GROUP, LLC,                         )
      Defendants.

       NOTICE OF DISMISSAL OF DEFENDANTS SPARC, LLC, SPARC 1, LLC AND
                    LUCKY BRAND DUNGAREES STORES, LLC

        Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), Plaintiff hereby dismisses all claims and causes of

action asserted in the above-captioned action against Defendants Sparc, LLC, Sparc 1, LLC and

Lucky Brand Dungarees Stores, LLC only, with each party to bear their own costs, expenses, and

attorneys’ fees.

Dated: February 3, 2022                               Respectfully submitted,

                                                     /s/ Sarah C. Liesen______________
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                                                     ATTORNEY FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

         The undersigned does hereby certify that on this 3rd day of February, 2022 the foregoing

was filed via the Missouri Electronic Filing system which sent notice to all attorneys of record.


                                                      /s/Sarah Liesen
                                                      ATTORNEY FOR PLAINTIFF

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